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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
                         vs.                  )   CASE NO. 3:15-CR-00062-SMR-SBJ
                                              )
SHAWN MICHAEL WEGMANN,                        )
                                              )
                       Defendant.             )


        REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

           The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11.          The Defendant

entered a plea of guilty to Counts 1, 2, 3 and 5 of the Superseding Indictment. After cautioning and

examining the Defendant under oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty plea was knowing and voluntary as to that count, and that the offense

charged is supported by an independent factual basis concerning each of the essential elements of

such offense. Defendant understands and agrees to be bound by the terms of the Plea Agreement.

I, therefore, recommend that the plea of guilty be accepted, that a pre-sentence investigation and

report be prepared, and that the Defendant be adjudged guilty and have sentence imposed

accordingly.
                                                   ~!i,Q~. 0
Date                                                 STEPHEN B. JACKSON, JR.
                                                  UNITED STATES MAGISTRATE JUDGE

                                             NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
